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July 6, 2022

By Electronic Filing
The Honorable Roslyn O. Silver
Senior Judge
United States District Court for the District of Arizona
Sandra Day O’Connor United States Courthouse
401 West Washington Street
Phoenix, Arizona 85003

Re:    Head v. Citigroup Incorporated, No. 3:18-cv-08189-ROS

Dear Judge Silver:

At the June 22, 2022 status conference, the Court advised that Defendant could revise its
proposed notices to conform with comments the Court made at the status conference. See
Transcript of Record at 54-55, Head v. Citigroup Inc. (No. 3:18-cv-08189) (Jun. 22, 2022).

The parties are meeting and conferring on Citibank’s proposed revisions to see if they can
reach an agreed form of notice. The parties respectfully request until July 13 to complete that
process, at which time they will submit a joint proposed notice or, if there are disagreements,
Citibank will submit its proposed revised notice.

Respectfully submitted,




Matthew A. Morr

MAM/slc
